                                                                     Page toft
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  Duval Charles C
   From:         Concannon    Thomas M
   Sent:       Thursday,     March 06, 2003 9:23 AM
   To:         *LOC
   Cc:           Fowler Bobbie   J
   Subject:      help needed
   Signed        (There were errors displaying the signers of this message, please click on the signature icon for
   By:           more details.)               .

  I've been asked to find out if it there is an ongoing promoter action on lindsey K Springer, 444·78-3758. We
  have a referral from a RA in Oklahoma relating to Mr Springer's current and continued non filer status. I
  performed an internet search and found he has quite a checkered past with promoter involvement in the

  Omega Group
  interest         Primebeen
           is that he's   Bankappointed
                                scam, Bondage  Breakers
                                        by GOd to do battleMinistry and
                                                             with the   TheSo
                                                                      IRS.  Infinity
                                                                               could Group
                                                                                      be up Company.  Of additional
                                                                                            against some  stiff
  competition if we decide to work him.


  Please respond at your earliest convenience     regarding our interest to pursue him as a non filer.
  Tom Concannon, RA
  Area 10RPC
  512-499-5013




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                                                                  Internal Revenue Service

                                                                         MAR 0 7 2003

                                                                SB/SE - Reporting Enforcement
                                                                   Lead Development Center




 03/07/2003



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